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Exhibit 1
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April 2", 2009

The Honourable Christopher F. Droney
United States District Court

Abraham Ribicoff Federal Building
450 Main Street, Suite 228

Hartford, CT 06103

ULS.A,

Dear Judge Droney

My name is Kevin Allwright and 1 am the Principal of a srnall (204 pupils) lrish
Preparatory school in the foothills of Wicklow about ten miles from Dublin, the capital of
Ireland. 1 was born in Hong Kong of an English father and Irish mother. From the age of
nine I went to school in Dublin and then trained as a teacher in the United Kingdom.
Having spent seven years in the U.K. | returned to Ireland with my Anglo Irish wife (also
a teacher) and we both carried on our teaching careers,

Having taught for fourteen years in Dublin, in 1997 | was appointed Principal of my -
current school Aravon and my wife Irene joined me as a teacher. In 2005 my wife was
appointed Vice Principal. That will probably give you some idea of the family feel of our
school. All of our children have attended the school. (Christopher, our youngest, left
Aravon two years ago.)

Aravon is a leading Irish Independent School that not only caters for the local population
but has a great international flavour with children of very many nationalities, including
American, attending, Although we follow the Irish Nationa! Curriculum, being an
independent school means we can easily embrace so many cultures. .

Parents are encouraged to join the PTA Committee, the Uniform Shop Committee, the
Green School Committee or the Saturday morning Soccer Club run by the Dads. Or just
to generally get involved with the school. This brings me to the point of this letter. J am
writing on behalf of John Houldsworth in connection with the Court’s determination of
his sentence.

Old Conna Howse. Bras. County Wicklow, Ireland
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I have known the Houldsworth family for more than ten years both professionally (we
taught all three of their wonderful children) and on a personal level. The Houldsworths
are a good Christian family who have been ideal parents within the school. John is a kind
person who would do anything for anyone, He was one of the founder members of the
Aravon School Saturday moming soccer club and has worked selflessly, never missing a
session, and motivating the children as an excellent coach. Indeed, now that all his
children have left us, John continues to come in to the school every Saturday morning to
coach soccer and has started a Saturday hockey club as well. Always good humoured,
John gets on with everyone and is above reproach and 1 rate him as a true friend. He can
talk knowledgably on any subject but I have particularly enjoyed our chats about all
things sporting. It is rare to have such a close relationship with a parent when one is a
school principal. He is the most supportive of parents and the whole family are a close
knit mit. I feel'a cist0dial jail sentence ii America would be disastrous Tor such a
wonderful, loving family not to mention the financial implications. [ would fear for his
children in such a scenario. A custodial sentence could mean the loss to my school of, |
can safely say, without contradiction from anyone, our most popular family. John is an
ideal father who does so much with his children who are as ] have stated before are the
nicest children you can meet, No one could have a closer relationship with their children.
Both my wife and I have taught them all, their youngest Victoria has now moved on to
Secondary school,

John’s wife Ruth has also not been idle within the school. She has served on our PTA
Committee with great diligence and was a most popular member of the committee. More
recently she has worked on the schoo! Uniform Committce and recently has taken over
the chairmanship of the committee where things run so smoothly. On top of all that work,
every year she helps my wife with the sporting and academic trophies collecting, cleaning
and collating. Not as easy a task as it sounds! Like her husband she is most supportive of
everything the school does and understands the difficulties all schools often experience in
the twenty first century. In the Houldsworth’s last year they were honoured by being
asked to present the sports prizes on our annual grand finale to the school year and did so
with modesty and dignity.

John is so highly thought of that he has been approached to join the Board of Governors
(voluntary) of our school but has declined for the moment until his court proceedings are
over. We would have no hesitation in having such a terrific person working for our
school and it would be a great pity if the said court proceedings were a reason that he
could not join us.

Finally I thank you most sincerely for taking the time to read this perhaps rather long
winded letter but | entreat you for leniency in the matter of sentencing. I feel T could not
stand idly by and not try to do my little bit for John who is an outstanding, thoughtful and
kind individual. Please do not hesitate to contact me if you require any further testimony
to John’s excellent character.

Yours Sincerely

Principal
